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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Laura L. Divane, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:16−cv−08157
                                                          Honorable Jorge L. Alonso
Northwestern University, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 22, 2024:


       MINUTE entry before the Honorable Jeannice W. Appenteng: The 6/28/2024
tracking status hearing is stricken and reset to 7/26/2024 at 8:30 a.m., for tracking
purposes only (no appearance is required; the case will not be called). Mailed notice. (kl, )




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